\DOO\]O\Ul-LL)JN'-*

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25

26-

27
28

Se 2:O7-cv-06754-PA-.]C Document 22 Filed 01/14/09 Page 1 of 2 Page |D #:259

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

EDUARDO HERNANDEZ, Case No. CV 07-6754 PA(JC)
Petitioner, ORDER ADOPTING FINDINGS,
CONCLUSIONS, AND
V. RECOMMENDATIONS OF

UNITED STATES MAGISTRATE
DEBRA DEXTER, Warden, JUDGE

Respondent.

 

 

Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
Habeas Corpus by a Person in State Custody (the “Petition”), all of the records
herein, the attached Report and Recommendation of United States Magistrate
Judge (“Report and Recommendation”), and petitioner’s objections to the Report
and Recommendation (“Objections”). The Court has further made a de novo
determination of those portions of the Report and Recommendation to which
objection is made. The Court concurs with and adopts the tindings, conclusions,
and recommendations of the United States Magistrate Judge and overrules the
Objections.

IT IS HEREBY ORDERED that Respondent’s Motion to Dismiss the
Petition is granted, and that Judgment be entered denying the Petition and

dismissing this action with prejudice

 

1
l
1
1
1
1
1
1
1

19
20
21
22
23
24
25
26
27
28

. |D .2

IT IS FURTHER ORDERED that the Clerk serve copies of this Order, the
Report and Recommendation, and the Judgment herein on Petitioner and on
counsel for Respondent.

LET JUDGMENT BE ENTERED ACCORDINGLY.

HONORAB&,E PERCY ANDERSON
UNITED STATES DISTRICT JUDGE

 

1

2

3

4

5

6 DATED: January 14, 2009
7

8

9

0

1
2
3
4
5
6
7
8

 

 

 

 

 

 

 

